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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                         )
TRISTAR INVESTORS, INC.,                                 )
                                                         )
               Plaintiff,                                )   Civil Action No. 12-MC-91350-
                                                         )   RGS
 v.                                                      )
                                                         )   Related Action: 3:12-cv-499
 AMERICAN TOWER CORP., et al.,                           )   (N.D. Tex)
                                                         )
               Defendants.                               )
                                                         )

             RESPONDENT, COLUMBIA CAPITAL, LLC’S CORPORATE
                         DISCLOSURE STATEMENT

       Pursuant to Federal Rules of Civil Procedure 7.1 and Local Rule 7.3(A), respondent,

Columbia Capital, LLC provides the following information:

       Columbia Capital, LLC has no parent corporation, and no publicly held corporation owns

more than 10% of its stock.

                                                 COLUMBIA CAPITAL, LLC
                                                 By its attorneys


                                                 /s/ John Foskett _________________________
                                                  John Foskett, BBO# 175540
                                                  Robert D. Hillman, BBO# 552637
                                                  DEUTSCH WILLIAMS BROOKS
                                                  DERENSIS & HOLLAND, P.C.
                                                  One Design Center Place
                                                  Suite 600
                                                  Boston, MA 02210
                                                  (617) 951-2300
                                                  jfoskett@dwboston.com
 Dated: November 29, 2012
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                                 CERTIFICATE OF SERVICE


        I, John Foskett, certify that I understand that counsel of record will receive electronic
notice of the electronic filing of this pleading.




                                                          /s/ John Foskett
                                                          John Foskett


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